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                                                                       Exhibit
                                                          Exhibit C- DTC EmailsC Page 1 of 1
                                                                  Depository Service List
                                                                    Served via Email

                         Name                                                               Email
       Broadridge                                   SpecialProcessing@broadridge.com
                                                    nathalie.chataigner@clearstream.com; cherifa.maameri@clearstream.com;
                                                    Hulya.Din@clearstream.com; deborah.lambert@clearstream.com;
                                                    monica.goncalves@clearstream.com; ca_mandatory.events@clearstream.com;
       Clearstream                                  ca_luxembourg@clearstream.com

                                                    lensnotices@dtcc.com; rgiordano@dtcc.com;
       DTC                                          mandatoryreorgannouncements@dtcc.com; voluntaryreorgannouncements@dtcc.com
       Euro Clear                                   drit@euroclear.com
       Inveshare                                    margaret.vitalino@inveshare.com; reorg@inveshare.com
                                                    mjones@mediantonline.com; zyang@mediantonline.com; mtaylor@mediantonline.com;
       Mediant                                      mdickens@mediantonline.com
       SIS                                          corpactionsoverseas.group@sisclear.com




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